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 1   Karen Osborne, WSBA No. 51433
 2   Email: karen@smfjb.org
     KOSBORNE LAW, LLC
 3   9721 NE Livingston Mountain Court
 4   Camas, WA 98607
     Telephone: (360) 975-3813
 5

 6   Simon Peter Serrano, WSBA No. 54769
     Email: pete@silentmajorityfoundation.org
 7   SILENT MAJORITY FOUNDATION
 8   5238 Outlet Dr.
     Pasco, WA 99301
 9   Telephone: (530) 906-9666
10
     Michael A. Yoder* (VSB: 93863)
11   Email: michael@yoderesq.com
12   LAW OFFICE OF MICHAEL A. YODER, PLLC
     2300 Wilson Blvd., Suite 700
13   Arlington, VA 22201
14   Telephone: (571) 234-5594
     *Motion for admission pro hac vice forthcoming
15

16   Counsel for Plaintiff Justin Jobes
17

18
                           UNITED STATES DISTRICT COURT
19
                     FOR THE WESTERN DISTRICT OF WASHINGTON
20
     JUSTIN JOBES,
21

22          Plaintiff,
23
            v.                                              Civil Case No.: __________________
24
     CITY OF BELLEVUE,
25                                                                  JURY TRIAL DEMANDED
26          Defendant.
27

28


                                            PLAINTIFF’S COMPLAINT
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 1
                                           COMPLAINT
 2
           Plaintiff Justin Jobes files this action for damages against Defendant the City of
 3
     Bellevue (the “City” or “Defendant”) for discriminating on the basis of religion in violation
 4
     of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq. (“Title VII”) and the
 5
     Revised Code of Washington (“RCW”) § 49.60, et seq, and in further support thereof,
 6
     alleges as follows:
 7
                                 PRELIMINARY STATEMENT
 8
           “Violate your sincerely held religious beliefs or you lose your job.” There is perhaps
 9
     no greater textbook example of the conduct expressly prohibited by Title VII–but Mr.
10
     Jobes, this example has regrettably become his reality. After dutifully fulfilling all
11
     obligations of his employment with the City of Bellevue for more than seven (7) years, the
12
     City terminated Mr. Jobes because of his sincerely held religious beliefs.
13
           For 35 consecutive weeks––the deadliest weeks of the COVID-19 pandemic––The
14
     City permitted its employees to forego vaccination despite its availability since December
15
     2020. Then in August 2021, the City abruptly took an about-face and immediately began
16
     requiring strict compliance with its newly adopted mandatory COVID-19 vaccination
17
     policy (the “policy”). In promulgating this policy, the City informed its employees that
18
     religious accommodations were available for those who sincerely hold religious beliefs
19
     that prohibit their compliance with the policy. But in reality, this promise was nothing more
20
     than an illusory, veiled guise to make it appear as though the City was abiding with state
21
     and federal law compelling employers to accommodate religious employees. Despite
22
     requesting a religious accommodation, the City refused to accommodate Mr. Jobes and
23
     subsequently terminated his employment. In addition to the aforesaid religious
24
     discrimination gives rise to this action alone, Mr. Jobes’ decision to terminate his
25
     employment in violation of Title VII.
26
     //
27
     //
28

                                                   1
                                          PLAINTIFF’S COMPLAINT
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 1
                                  JURISDICTION AND VENUE
 2
            1.     This action arises under 42 U.S.C. § 2000e-2 and therefore, jurisdiction is
 3
     proper pursuant to 28 U.S.C. §§ 1331 and 1343.
 4
            2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a
 5
     substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
 6
     District and the City maintains its headquarters and is a municipal governmental entity
 7
     within this district.
 8
            3.     In early March 2023, Plaintiff placed the City on notice regarding his tort
 9
     claims pursuant to RCW § 4.16, RCW § 4.96.020, and Bellevue City Code § 4.36 via its
10
     online portal. The City confirmed receipt of Plaintiff’s tort claim notice on March 15, 2023.
11
     Plaintiff also placed the City on notice of his Title VII claims as required by law.
12
            4.     This Court is authorized to grant Mr. Jobes’ prayer for relief regarding costs,
13
     including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.
14
                                              PARTIES
15
            5.     Plaintiff Justin Jobes (“Mr. Jobes”) is an adult resident of Whatcom County,
16
     Washington and a former City employee. At all times relevant, Mr. Jobes was employed
17
     as a firefighter engineer with the City of Bellevue Fire Department until he was
18
     discriminated against, retaliated against, and otherwise subjected to adverse employment
19
     action beginning as early as October 18, 2021––all of which the City perpetrated against
20
     Mr. Jobes because of his religion and sincerely held religious beliefs.
21
            6.     Defendant City of Bellevue (the “City” or “Defendant”) is a municipal
22
     corporation responsible for the supervision and operation of its subordinate departments
23
     and offices, including inter alia the City of Bellevue’s Fire Department. The City maintains
24
     its headquarters at 450 110th Avenue NE, Bellevue, WA 98004.
25
            7.     At all times relevant, the City is an employer within the meaning of 42 U.S.C.
26
     § 12111(5), in that the City engaged in an industry affecting commerce and has more than
27
     25 employees for each working day in each of 20 or more calendar weeks in the current
28

                                                    2
                                           PLAINTIFF’S COMPLAINT
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 1
     and preceding years. As an employer, the City is subject to Title VII, which among other
 2
     things, requires the City to reasonably accommodate its employees’ (such as Mr. Jobes)
 3
     sincerely held religious beliefs.
 4
                            EXHAUSTION OF ADMINISTRATIVE REMEDIES
 5
                8.      Mr. Jobes timely filed a charge of discrimination with the Equal Employment
 6
     Opportunity Commission (“EEOC”) concerning claims on the basis of his religion and
 7
     retaliation. His Charge was timely in that it was filed less than 180 days after the last date
 8
     of discrimination took place.
 9
                9.      On March 7, 2023, the EEOC issued Plaintiff a Notice of Right to Sue Letter
10
     in regard to Plaintiff’s first EEOC Complaint. Plaintiff received the notice that same day.
11
     See Exhibit 1, Notice of Right to Sue Letter.
12
                10.     Plaintiff has exhausted all administrative remedies and complied with all
13
     conditions precedent in maintaining this action, in that Plaintiff filed his formal complaint
14
     with the EEOC within 180 days of the last date of discrimination and he hereby initiates
15
     this action on June 5, 2023, which is within ninety (90) days of March 7, 2023, when
16
     Plaintiff received his Notice of Right to Sue Letter. See id.
17
                                               STATEMENT OF FACTS
18
                11.     On or about August 9, 2021, Governor Inslee issued proclamation 21-14 1,
19
     which inter alia prohibited any “Health Care Provider” from failing to be fully vaccinated
20
     against COVID-19 after October 18, 2021.
21
                12.     On or about September 30, 2021, Mr. Jobes submitted a request for a religious
22
     accommodation shortly thereafter.
23
                13.     In his request, he explained to the City that he sincerely believes he cannot
24
     inject unknown vaccines into his body and highlighted the fact that the ingredients and
25
     chemicals contained in the COVID-19 vaccines were unknown, the effects of the vaccines
26
     were unknown, and these variables without more information, precluded his from blindly
27

28   1
         Proclamation 21-14 was subsequently amended by proclamation 21-14.1 on August 20, 2021.

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                                                      PLAINTIFF’S COMPLAINT
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 1
     injecting a substance into his body. Mr. Jobes sincerely believes that his body is not to be
 2
     altered in any way other than through means by which God created or through scientifically
 3
     proven, safe, and effective manmade and necessary medical intervention. To consume or
 4
     knowingly inject anything else into his body would constitute a sin and prevent his ability
 5
     from one day, going to Heaven and sharing that Place with God.
 6
           14.    From the date he submitted his religious accommodation request through
 7
     October 18, 2021, Mr. Jobes did not receive any information or response from the City
 8
     concerning his religious accommodation request.
 9
           15.    On October 18, 2021––one day after the deadline the City imposed upon Mr.
10
     Jobes to become vaccinated–– the City’s Human Resources (“HR”) personnel met with
11
     Mr. Jobes and advised him that his accommodation request was denied because he would
12
     not be able to perform his essential job functions, and this placed an undue hardship to the
13
     company. But this is false.
14
           16.    The City terminated Mr. Jobes’ employment because he is religious and
15
     because Mr. Jobes adhered to his sincerely held religious beliefs.
16
           17.    At all times relevant, Mr. Jobes satisfied or exceeded his employer’s
17
     reasonable expectations as to job performance with or without a reasonable
18
     accommodation. Mr. Jobes demonstrated his ability to perform the essential functions and
19
     duties of his job as evidenced by factors including without limitation, his education,
20
     experience, work history, and performance reviews.
21
           18.    Perhaps most compelling is the fact that the City permitted Mr. Jobes to work
22
     in the exact same capacity for months, including months during the height of the pandemic,
23
     and never once mandated that he be vaccinated against COVID-19.
24
           19.    At all times relevant, Mr. Jobes complied with all COVID-19 mitigation
25
     protocols the City implemented, including inter alia wearing masks, socially distancing,
26
     and testing for COVID-19 on a weekly basis (collectively, “mitigation protocols”).
27

28

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                                          PLAINTIFF’S COMPLAINT
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 1
           20.    The mitigation protocols, both individually and collectively, have evidenced-
 2
     based track records demonstrating their effectiveness and the feasibility with which the
 3
     City is able to implement and provide any or all of the mitigation protocols.
 4
           21.    Based upon the City’s provision of the aforesaid mitigation protocols and the
 5
     continuation of such provision of the same for more than eight months, it is not subject to
 6
     reasonable dispute that the aforesaid mitigation protocols do not impose upon the City an
 7
     undue hardship.
 8
           22.    Mr. Jobes has always been amenable, and Mr. Jobes remains amenable, to
 9
     abiding by the aforesaid mitigation protocols, and the City was aware of his amenability to
10
     the same at all times relevant.
11
           23.    The reasonable religious accommodation Mr. Jobes sought would not impose
12
     an undue hardship upon the City and does not impose an undue hardship upon the City.
13
           24.    Mr. Jobes sincerely holds religious beliefs, as explained more fully above.
14
           25.    There is no dispute that the City and Mr. Jobes are in agreement that the
15
     religious beliefs he asserted are in fact, religious.
16
           26.    Mr. Jobes’ religious beliefs are sincerely held.
17
           27.    There is no dispute that the City and Mr. Jobes are in agreement that his
18
     religious beliefs are in fact, sincerely held. The City has never challenged the sincerity with
19
     which Mr. Jobes holds their beliefs.
20
           28.    Ignoring and otherwise failing to respond to Mr. Jobes’ request for a religious
21
     accommodation, treating Mr. Jobes differently, and/or taking adverse employment action
22
     against Mr. Jobes upon learning that he is a religious person constitutes religious-based
23
     discrimination in violation of Title VII. See 42 U.S.C. § 2000e, et seq.
24
           29.    Refusing to provide Mr. Jobes with a reasonable religious accommodation
25
     that does not impose an undue hardship despite Mr. Jobes’ lawful entitlement to such an
26
     accommodation violates Title VII. See 42 U.S.C. § 2000e, et seq.
27

28

                                                     5
                                            PLAINTIFF’S COMPLAINT
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 1
            30.    As a religious person, Mr. Jobes is a member of a constitutionally protected
 2
     class (religion), and the protected class on the basis of religion is entitled to equal protection
 3
     of law as other protected classes of persons, including those who are disabled.
 4
            31.    Ignoring and otherwise failing to review or consider Mr. Jobes’ request for a
 5
     religious accommodation, as well as the refusal to reasonably accommodate Mr. Jobes’
 6
     sincerely held religious beliefs while not ignoring and actually reviewing other City
 7
     employees’ requests for religious accommodations constitutes disparate treatment in
 8
     violation of Title VII. See 42 U.S.C. § 2000e, et seq.
 9
            32.    Refusing to provide Mr. Jobes with an accommodation on the basis of his
10
     religion, while providing reasonable accommodations to other persons similarly situated
11
     on the basis of their religion constitutes disparate treatment in violation of Title VII. See
12
     42 U.S.C. § 2000e, et seq.
13
            33.    Mr. Jobes’ beliefs are religious.
14
            34.    Mr. Jobes’ religious beliefs are sincerely held.
15
            35.    The City can reasonably accommodate Mr. Jobes’ religious beliefs through
16
     inter alia masking, social distancing, and weekly testing.
17
            36.    Accommodating Mr. Jobes through inter alia masking, social distancing, and
18
     weekly testing does not impose an undue hardship upon the City.
19
            37.    Upon learning Mr. Jobes was a religious person, the City terminated his
20
     employment.
21
            38.    After refusing to accommodate Mr. Jobes’ sincerely held religious beliefs, the
22
     City terminated his employment.
23                                            COUNT I
24                                  RELIGIOUS DISCRIMINATION
                          Violation of Title VII, 42 U.S.C. §§ 2000e, et seq.
25
            39.    Mr. Jobes re-alleges and incorporates by reference all preceding paragraphs
26
     as if fully set forth herein.
27

28

                                                     6
                                            PLAINTIFF’S COMPLAINT
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 1
           40.     Mr. Jobes sincerely holds religious beliefs and is a member of a protected
 2
     class based on his religion.
 3
           41.     Mr. Jobes is an employee within the meaning of Title VII.
 4
           42.     The City is an employer within the meaning of Title VII.
 5
           43.     Title VII forbids an employer from refusing a job to someone because of his
 6
     need for religious accommodation, absent proof that granting the accommodation would
 7
     cause it undue hardship. 42 U.S.C. §§ 2000e(j), 2000e-2(a)(1); EEOC v. Abercrombie &
 8
     Fitch Stores, Inc., 575 U.S. 768, 774 (2015).
 9
           44.     This extension of actionable religious discrimination to include a failure to
10
     accommodate derives from Title VII’s definition of “religion” to include “all aspects of
11
     religious observance and practice, as well as belief, unless an employer demonstrates that
12
     he is unable to reasonably accommodate to an employee’s or prospective employee’s
13
     religious observance or practice without undue hardship on the conduct of the employer’s
14
     business.” 42 U.S.C. § 2000e(j).
15
           45.     More specifically, courts and the EEOC have insisted that federal law can
16
     require employers to accommodate sincere religious objections to a loyalty oath—even
17
     when that oath might otherwise be required by state law. See EEOC Decision No. 85-13,
18
     38 Fair Empl. Prac. Cas. (BNA) 1884 (1985) (concluding that an employer’s refusal to
19
     accommodate an employee’s request to sign an alternate oath for religious reasons violated
20
     Title VII).
21
           46.     Here, Mr. Jobes advised the City of his sincerely held religious beliefs that he
22
     sincerely believes he cannot inject unknown vaccines into his body and highlighted the fact
23
     that the ingredients and chemicals contained in the COVID-19 vaccines were unknown,
24
     the effects of the vaccines were unknown, and these variables without more information,
25
     precluded him from blindly injecting a substance into his body.
26
           47.     Mr. Jobes sincerely believes that his body is not to be altered in any way other
27
     than through means by which God created or through scientifically proven, safe, and
28

                                                    7
                                           PLAINTIFF’S COMPLAINT
              Case 2:23-cv-00839-TSZ    Document 1       Filed 06/05/23   Page 9 of 13



 1
     effective manmade and necessary medical intervention. To consume or knowingly inject
 2
     anything else into his body would constitute a sin and prevent his ability from one day,
 3
     going to Heaven and sharing that Place with God.
 4
           48.     Mr. Jobes informed the City of this conflict and expressly sought an
 5
     accommodation.
 6
           49.     In response to Mr. Jobes’ request for an accommodation, the City took an
 7
     adverse action against his by terminating his employment because of his religious need for
 8
     an accommodation. See 42 U.S.C. § 2000e-2(a)(1) (actionable adverse actions include
 9
     “fail[ing] or refus[ing] to hire,” “discharg[ing],” or otherwise discriminating with respect
10
     to the “terms” and “conditions” of employment).
11
           50.     The City made no efforts at all to accommodate Mr. Jobes’ sincerely held
12
     religious objection to its mandatory COVID-19 vaccination policy and terminated his
13
     employment because of the aforesaid conflict.
14
           51.     The City’s failure to produce any alternative therefore requires it to have
15
     accepted Mr. Jobes’ proposal absent undue hardship.
16
           52.     Accommodating Mr. Jobes would not have imposed an undue hardship on the
17
     City, as evidenced by the utilization of the COVID-19 mitigation protocols as discussed
18
     above.
19
           53.     Other medical facilities and health systems have not insisted on mandatory
20
     vaccination without allowing accommodations for objectors.
21
           54.     As a direct and proximate result of the aforesaid complained of conduct and
22
     violation of Title VII, Mr. Jobes sustained pecuniary and non-economic injuries in an
23
     amount that exceeds $75,000.00, including lost wages, benefits, retirement funds, the
24
     denial of promotional opportunity, humiliation, embarrassment, unnecessary pain and
25
     suffering, attorneys’ fees, and costs associated with this action.
26
                                             COUNT II
27                                  RELIGIOUS DISCRIMINATION
28
                                     Violation of RCW § 49.60

                                                    8
                                           PLAINTIFF’S COMPLAINT
           Case 2:23-cv-00839-TSZ      Document 1      Filed 06/05/23   Page 10 of 13



 1
            55.    Mr. Jobes re-alleges and incorporates by reference all preceding paragraphs
 2
     as if fully set forth herein.
 3
            56.    Washington State Law prohibits employers from discriminating on the basis
 4
     of inter alia religion. See RCW § 49.60; see Ockletree v. Franciscan Health System, 179
 5
     Wn.2d. 769 (2014) (holding religious discrimination falls under RCW § 49.60); see also
 6
     Kumar v. Gate Gourmet, Inc., 180 Wn.2d 481 (2014) (holding that the Washington Law
 7
     Against Discrimination requires employers to reasonably accommodate their employees’
 8
     religious practices).
 9
            57.    The City had actual knowledge of Mr. Jobes’ sincerely held religious beliefs
10
     based on the correspondences exchanged concerning his “Not Vaccinated” status and his
11
     communications concerning reasonable accommodations for their sincerely held religious
12
     beliefs.
13
            58.    Mr. Jobes experienced adverse employment action and a materially adverse
14
     change in the terms and conditions of his employment – namely, the termination of his
15
     employment – because of his sincerely held religious beliefs.
16
            59.    At all times relevant, Mr. Jobes was qualified, is qualified, and remains
17
     qualified to perform the essential functions of his job, unvaccinated.
18
            60.    At all times relevant, Mr. Jobes was qualified, is qualified, and remains
19
     qualified to perform the essential functions of his job with a reasonable accommodation.
20
            61.    Because of Mr. Jobes’ sincerely held religious beliefs, the City took adverse
21
     employment action against his by inter alia refusing to accommodate him and terminating
22
     his employment.
23
            62.    Providing a reasonable religious accommodation to Mr. Jobes would not
24
     cause the City to suffer an undue hardship as evidenced by the City’s previous provision
25
     of mitigation protocols in lieu of vaccination and the efficacy of such mitigation protocols
26
     to achieve the ends sought to be achieved by the City’s mandatory vaccination policy.
27

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                                                   9
                                          PLAINTIFF’S COMPLAINT
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 1
           63.     All allegations set forth herein constitute a discrimination on the basis of
 2
     religion.
 3
           64.     All allegations set forth herein constitute a failure to accommodate on the
 4
     basis of religion.
 5
           65.     All allegations set forth herein constitute a violation of Washington’s
 6
     prohibition of religious discrimination.
 7
           66.     As a direct and proximate result of the aforesaid complained of conduct and
 8
     violation of Washington State law, Mr. Jobes sustained pecuniary and non-economic
 9
     injuries in an amount that exceeds $75,000.00, including lost wages, benefits, retirement
10
     funds, the denial of promotional opportunity, humiliation, embarrassment, unnecessary
11
     pain and suffering, attorneys’ fees, and costs associated with this action.
12
                                      PRAYER FOR RELIEF
13
           WHEREFORE, Mr. Jobes respectfully prays that this Honorable Court enter
14
     judgment in his favor, award such relief as to make Mr. Jobes whole and remedy the
15
     aforesaid violations of Washington and federal law, and hold the City of Bellevue liable
16
     and in doing so, award all legal and equitable relief provided by law, including but not
17
     limited to:
18
           A.      Issue a declaratory judgment that the practices complained of in this
19
                   Complaint are unlawful and violate Title VII of the Civil Rights Act and
20
                   Washington State Law;
21
           B.      Enjoin the City from pursuing its policy of making no religious
22
                   accommodations to its oath requirement for its employees;
23
           C.      Require the City to adopt hiring and employment policies that comply with
24
                   Title VII and Washington State Law, including their requirement that
25
                   employers make reasonable accommodations to religious beliefs and practices
26
                   in general and faith-based objections to loyalty oaths in particular and any
27

28

                                                    10
                                           PLAINTIFF’S COMPLAINT
           Case 2:23-cv-00839-TSZ      Document 1         Filed 06/05/23   Page 12 of 13



 1
                  other appropriate and legally permissible injunctive relief in accordance with
 2
                  proof;
 3
           D.     Award Mr. Jobes all appropriate and legally available monetary relief,
 4
                  including lost compensation and benefits, in an amount to be determined at
 5
                  trial to make him whole for the loss he suffered as a result of the unlawful
 6
                  conduct alleged in this Complaint;
 7
           E.     Award Mr. Jobes any interest at the legal rate on such damages as appropriate,
 8
                  including pre- and post-judgment interest;
 9
           F.     Award compensatory damages to Mr. Jobes to fully compensate him for the
10
                  pain, suffering, childcare, and other expenses caused by the harmful conduct
11
                  alleged in this Complaint;
12
           G.     Award Mr. Jobes a reasonable amount of attorney’s fees for the work of her
13
                  attorneys in pursuit of this action and the protection of his rights;
14
           H.     Award Mr. Jobes all costs, disbursements, and expenses he paid or that were
15
                  incurred on his behalf;
16
           I.     Award such additional relief the Court deems just and proper; and
17
           J.     Award any other relief as allowed by law.
18
                                  DEMAND FOR JURY TRIAL
19
           Mr. Jobes hereby demands a trial by jury of all issues and each and every cause of
20
     action so triable.
21

22
     Dated: June 5, 2023
23

24
                                              Respectfully submitted,
25
                                              JUSTIN JOBES
26

27                                    By: /s/ Karen L. Osborne
28                                         Karen L. Osborne, WSBA No. 51433

                                                     11
                                            PLAINTIFF’S COMPLAINT
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 1                                 KOsborne Law, LLC
 2                                 9721 NE Livingston Mountain Court
                                   Camas, WA 98607
 3                                 Tel: (360) 975-3813
 4                                 karen@smfjb.org
 5                            By: /s/ Simon Peter Serrano
 6                                Simon Peter Serrano, WSBA No. 54769
                                  Silent Majority Foundation
 7                                5238 Outlet Dr.
 8                                Pasco, WA 99301
                                  Tel: (530) 906-9666
 9                                pete@silentmajorityfoundation.org
10
                              By: /s/ Michael A. Yoder
11                                Michael A. Yoder*
12                                THE LAW OFFICE OF MICHAEL A. YODER, PLLC
                                  2300 Wilson Blvd., Suite 700
13                                Arlington, VA 2201
14                                Tel: (571) 234-5594
                                  michael@yoderesq.com
15                                *pro hac vice forthcoming
16
                                   Counsel for Plaintiff
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                                 PLAINTIFF’S COMPLAINT
